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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK
             -------------------------------X

             UNITED STATES OF AMERICA,                                     MEMORANDUM
                                                                           and ORDER
                                    Plaintiff,

                    - against -                                            04-CR-774 (TCP)

             ASTRA MOTOR CARS, et al.,

                                    Defendants.

             -------------------------------X
             PLATT, District Judge


                            In light of (i) the prior negotiations, arguments, and discussions of

             counsel on the schedule for pre-trial motions in Court on October 6, 2005, in

             which the deadline for the service and filing of all Defendants’ motions was set

             for December 1, 2005, (ii) the late filing of some of these motions, and (iii) this

             Court’s order granting Defendant Santos a right to file as late as December 31,

             2005 - the present application of the Defendants, dated December 20, 2005, to

             advance the Government’s response date from January 27, 2006 to January 13,

             2006, is an unreasonable one by any measure and the same must be and hereby is

             DENIED.



             SO ORDERED.

                                                           /S/__________________
                                                           Thomas C. Platt, U.S.D.J.

             Dated: Central Islip, New York
             December 23, 2005
